        Case 2:21-cv-00230-GJF-CG Document 33 Filed 12/03/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

LAMAR ADVERTISING SOUTHWEST, INC.,

               Plaintiff,

v.                                                                 No. CV 21-230 GJF/CG

GRANDVIEW REALTY, LLC, et al.,

               Defendants.

                ORDER SETTING ZOOM SETTLEMENT CONFERENCE

        To facilitate a final disposition of this case, a mandatory settlement conference

will be conducted in accordance with Federal Rule of Civil Procedure 16(a)(5). Pursuant

to the parties’ request, the Court will hold the upcoming settlement conference via

Zoom.

        The conference will be held on January 13, 2022, at 9:00 a.m. A telephonic

status conference will be held on January 6, 2022, at 10:30 a.m., to discuss the parties’

positions, as set forth in the Court’s Order Setting Telephonic Pre-Settlement Status

Conference, (Doc. 32).

        IT IS HEREBY ORDERED that the parties and a designated representative,

other than counsel of record, with full authority to resolve the case, must attend via

Zoom; counsel who will try the case must also attend via Zoom. All attorneys and

parties involved in the settlement conference must treat as confidential the information

discussed, positions taken, and offers made by other participants in preparation for and

during the conference. 1


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 This does not prohibit disclosures stipulated to by the parties, necessary in proceedings to
determine the existence of a binding settlement agreement, or as otherwise required by law.
      Case 2:21-cv-00230-GJF-CG Document 33 Filed 12/03/21 Page 2 of 3




      IT IS FURTHER ORDERED that:

      1. By December 9, 2021, Plaintiff’s counsel shall serve on Defendants’ counsel
         a concise letter that sets forth a settlement demand itemizing the principal
         supporting damages or other relief that Plaintiff assert would appropriately be
         granted at trial.

      2. By December 16, 2021, Defendants’ counsel shall serve on Plaintiff’s
         counsel a concise letter that sets forth a response to the settlement demand.

      3. By December 23, 2021, each party shall provide to the Court:

             a. A copy of each letter that was sent to an opposing party;

             b. A confidential, concise letter containing an analysis of the strengths
                and weaknesses of its case; and

             c. Any video or audio recordings of the incident upon which this action is
                based.

             d. This letter should also contain the email addresses and phone
                numbers for all participants in the settlement conference. This
                contact information will be used to send the invitation to attend
                the settlement conference via Zoom.

          These materials may be submitted to the Court by email:
          garzaschambers@nmd.uscourts.gov

      4. Each of these letters typically should be five (5) pages or fewer, and counsel
         will ensure that each party reads the opposing party’s letter before the
         settlement conference.

      5. Before January 5, 2022, counsel shall confer with one another about their
         clients’ respective positions.

      6. On January 5, 2022, at 10:00 a.m., counsel shall call Judge Garza’s AT&T
         line at (877) 810-9415, follow the prompts, and enter access code 7467959,
         for a pre-settlement telephonic status conference

      A party must show good cause to vacate or reschedule the settlement

conference. Any such request must provide the Court with sufficient notice to ensure

that other matters may be scheduled in the time allotted for the settlement conference.




                                           2
Case 2:21-cv-00230-GJF-CG Document 33 Filed 12/03/21 Page 3 of 3




IT IS SO ORDERED.



                       THE HONORABLE CARMEN E. GARZA
                       CHIEF UNITED STATES MAGISTRATE JUDGE




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